










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-06-00352-CR




The State of Texas, Appellant

v.

Mary Guthrie Nelson, Appellee





FROM THE COUNTY COURT AT LAW NO. 2 OF TOM GREEN COUNTY
NO. 05-03616L2, HONORABLE PENNY ANNE ROBERTS, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N
&nbsp;
The State appeals an order granting Mary Guthrie Nelson’s motion to suppress
evidence.  Before us is the State’s motion to remand for findings of fact and conclusions of law.  The
motion is granted.
Upon the request of the losing party on a motion to suppress evidence, the court must
state for the record its essential findings, that is, the court must make findings of fact and conclusions
of law adequate for appellate review of the trial court’s application of the law to the facts.  State v.
Cullen, No. PD-984-05, 2006 Tex. Crim. App. LEXIS 1281, at *7-8 (Tex. Crim. App. June 28,
2006).  In the instant cause, the State’s request for findings and conclusions was made to and refused
by the trial court before Cullen was announced, but the court’s refusal is remediable.  Id.; see Tex.
R. App. P. 44.4(b). 
The appeal is abated.  The trial court shall prepare and file written findings of fact and
conclusions of law stating the basis for its ruling on the motion to suppress. The findings and
conclusions shall be forwarded to this Court in a supplemental record no later than August 25, 2006.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;___________________________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;G. Alan Waldrop, Justice
Before Justices B. A. Smith, Puryear and Waldrop
Filed:   August 3, 2006
Do Not Publish


